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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

Bahia Amawi,                              §
                                          §
        Plaintiff                         §                          Case No. 1:18-cv-1091-RP
                                          §
v.                                        §                          consolidated with:
                                          §
Pflugerville Independent School District, §                          Case No. 1:18-cv-1100-RP
et al.,                                   §
                                          §
        Defendants                        §

     DEFENDANTS LEWISVILLE ISD’S AND KLEIN ISD’S NOTICE OF APPEAL

       Notice is hereby given that (1) the Trustees of the Lewisville Independent School

District, in the name of the Lewisville Independent School District, (“Lewisville ISD”) and (2)

the Trustees of the Klein Independent School District, in the name of the Klein Independent

School District, (“Klein ISD”) Defendants in the above entitled and numbered cause, hereby

appeal to the United States Court of Appeals for the Fifth Circuit from the Court’s Order [Dkt.

82] entered on April 25, 2019.

                                                Respectfully submitted,

                                                /s/ Thomas P. Brandt
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                                                 INDEPENDENT SCHOOL DISTRICT AND KLEIN
                                                 INDEPENDENT SCHOOL DISTRICT



                                 CERTIFICATE OF SERVICE

        This is to certify that on the 2nd day of May, 2019, I electronically filed the foregoing
document with the clerk of the Court for the United States District Court, Western District of
Texas, using the electronic case filing system of the Court, and that it reported that it was
delivered to all attorneys of record.

                                                /s/ Thomas P. Brandt
                                                THOMAS P. BRANDT




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